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 7
                                 UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9                                     WESTERN DIVISION
10
       MENG KOAY LIM, an individual,                        Case No.: 2:19-cv-07163-JWH-KS
11         Plaintiff,
12                                                          PROTECTIVE ORDER
             vs.
13
       RICHARD POLA & ASSOCIATES, INC.,
14
       d/b/a RP & ASSOCIATES INC., a California
15     corporation,
16                                         Defendant.

17
18    1.     A.     PURPOSES AND LIMITATIONS
19           Discovery in this action is likely to involve production of confidential, proprietary, or
20    private information for which special protection from public disclosure and from use for any
21    purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby
22    stipulate to and petition the Court to enter the following Stipulated Protective Order. The parties
23    acknowledge that this Order does not confer blanket protections on all disclosures or responses
24    to discovery and that the protection it affords from public disclosure and use extends only to the
25    limited information or items that are entitled to confidential treatment under the applicable legal
26    principles. The parties further acknowledge, as set forth in Section 12.3, below, that this
27
28                                                      1
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 1    Stipulated Protective Order does not entitle them to file confidential information under seal;
 2    Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that will
 3    be applied when a party seeks permission from the court to file material under seal.
 4                 B.       GOOD CAUSE STATEMENT
 5           This action is likely to involve trade secrets, customer and pricing lists and other valuable
 6    research, development, commercial, financial, technical and/or proprietary information for
 7    which special protection from public disclosure and from use for any purpose other than
 8    prosecution of this action is warranted. Such confidential and proprietary materials and
 9    information consist of, among other things, confidential business or financial information,
10    information regarding confidential business practices, or other confidential research,
11    development, or commercial information (including information implicating privacy rights of
12    third parties), information otherwise generally unavailable to the public, or which may be
13    privileged or otherwise protected from disclosure under state or federal statutes, court rules, case
14    decisions, or common law. Accordingly, to expedite the flow of information, to facilitate the
15    prompt resolution of disputes over confidentiality of discovery materials, to adequately protect
16    information the parties are entitled to keep confidential, to ensure that the parties are permitted
17    reasonable necessary uses of such material in preparation for and in the conduct of trial, to
18    address their handling at the end of the litigation, and serve the ends of justice, a protective order
19    for such information is justified in this matter. It is the intent of the parties that information will
20    not be designated as confidential for tactical reasons and that nothing be so designated without a
21    good faith belief that it has been maintained in a confidential, non-public manner, and there is
22    good cause why it should not be part of the public record of this case.
23    2.     DEFINITIONS
24           2.1    Action: This pending lawsuit: Meng Koay Lim v. Richard Pola & Associates, Inc.
25    d/b/a RP & Associates Inc., Case No. 2-19-cv-7163-JWH-KS.
26           2.2    Challenging Party: a Party or Non-Party that challenges the designation of
27    information or items under this Order.
28                                                       2
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 1              2.3    “CONFIDENTIAL” Information or Items: information (regardless of how it is
 2    generated, stored or maintained) or tangible things that qualify for protection under Federal Rule
 3    of Civil Procedure 26(c), and as specified above in the Good Cause Statement.
 4              2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their support
 5    staff).
 6              2.5    Designating Party: a Party or Non-Party that designates information or items that it
 7    produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
 8              2.6    Disclosure or Discovery Material: all items or information, regardless of the
 9    medium or manner in which it is generated, stored, or maintained (including, among other
10    things, testimony, transcripts, and tangible things), that are produced or generated in disclosures
11    or responses to discovery in this matter.
12              2.7    Expert: a person with specialized knowledge or experience in a matter pertinent to
13    the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a
14    consultant in this Action.
15              2.8    House Counsel: attorneys who are employees of a party to this Action. House
16    Counsel does not include Outside Counsel of Record or any other outside counsel.
17              2.9    Non-Party: any natural person, partnership, corporation, association, or other legal
18    entity not named as a Party to this action.
19              2.10   Outside Counsel of Record: attorneys who are not employees of a party to this
20    Action but are retained to represent or advise a party to this Action and have appeared in this
21    Action on behalf of that party or are affiliated with a law firm which has appeared on behalf of
22    that party, and includes support staff.
23              2.11   Party: any party to this Action, including all of its officers, directors, employees,
24    consultants, retained experts, and Outside Counsel of Record (and their support staffs).
25              2.12   Producing Party: a Party or Non-Party that produces Disclosure or Discovery
26    Material in this Action.
27
28                                                        3
                                                                          [PROPOSED] Protective Order
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 1           2.13   Professional Vendors: persons or entities that provide litigation support services
 2    (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
 3    organizing, storing, or retrieving data in any form or medium) and their employees and
 4    subcontractors.
 5           2.14   Protected Material: any Disclosure or Discovery Material that is designated as
 6    “CONFIDENTIAL.”
 7           2.15   Receiving Party: a Party that receives Disclosure or Discovery Material from a
 8    Producing Party.
 9    3.     SCOPE
10           The protections conferred by this Stipulation and Order cover not only Protected Material
11    (as defined above), but also (1) any information copied or extracted from Protected Material; (2)
12    all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,
13    conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
14           Any use of Protected Material at trial shall be governed by the orders of the trial judge.
15    This Order does not govern the use of Protected Material at trial.
16    4.     DURATION
17           Even after final disposition of this litigation, the confidentiality obligations imposed by
18    this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court
19    order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all
20    claims and defenses in this Action, with or without prejudice; and (2) final judgment herein after
21    the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this
22    Action, including the time limits for filing any motions or applications for extension of time
23    pursuant to applicable law.
24    5.     DESIGNATING PROTECTED MATERIAL
25           5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party
26    or Non-Party that designates information or items for protection under this Order must take care
27    to limit any such designation to specific material that qualifies under the appropriate standards.
28                                                     4
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 1    The Designating Party must designate for protection only those parts of material, documents,
 2    items, or oral or written communications that qualify so that other portions of the material,
 3    documents, items, or communications for which protection is not warranted are not swept
 4    unjustifiably within the ambit of this Order.
 5           Mass, indiscriminate, or routinized designations are prohibited. Designations that are
 6    shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
 7    unnecessarily encumber the case development process or to impose unnecessary expenses and
 8    burdens on other parties) may expose the Designating Party to sanctions.
 9           If it comes to a Designating Party’s attention that information or items that it designated
10    for protection do not qualify for protection, that Designating Party must promptly notify all
11    other Parties that it is withdrawing the inapplicable designation.
12           5.2    Manner and Timing of Designations. Except as otherwise provided in this Order
13    (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
14    Disclosure or Discovery Material that qualifies for protection under this Order must be clearly
15    so designated before the material is disclosed or produced.
16           Designation in conformity with this Order requires:
17                  (a) for information in documentary form (e.g., paper or electronic documents, but
18    excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
19    Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL
20    legend”), to each page that contains protected material. If only a portion or portions of the
21    material on a page qualifies for protection, the Producing Party also must clearly identify the
22    protected portion(s) (e.g., by making appropriate markings in the margins). A Party or Non-
23    Party that makes original documents available for inspection need not designate them for
24    protection until after the inspecting Party has indicated which documents it would like copied
25    and produced. During the inspection and before the designation, all of the material made
26    available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
27    identified the documents it wants copied and produced, the Producing Party must determine
28                                                     5
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 1    which documents, or portions thereof, qualify for protection under this Order. Then, before
 2    producing the specified documents, the Producing Party must affix the “CONFIDENTIAL
 3    legend” to each page that contains Protected Material. If only a portion or portions of the
 4    material on a page qualifies for protection, the Producing Party also must clearly identify the
 5    protected portion(s) (e.g., by making appropriate markings in the margins).
 6                  (b)    for testimony given in depositions that the Designating Party identify the
 7    Disclosure or Discovery Material on the record, before the close of the deposition all protected
 8    testimony.
 9                  (c)    for information produced in some form other than documentary and for any
10    other tangible items, that the Producing Party affix in a prominent place on the exterior of the
11    container or containers in which the information is stored the legend “CONFIDENTIAL.” If
12    only a portion or portions of the information warrants protection, the Producing Party, to the
13    extent practicable, shall identify the protected portion(s).
14           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
15    designate qualified information or items does not, standing alone, waive the Designating Party’s
16    right to secure protection under this Order for such material. Upon timely correction of a
17    designation, the Receiving Party must make reasonable efforts to assure that the material is
18    treated in accordance with the provisions of this Order.
19    6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
20           6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of
21    confidentiality at any time that is consistent with the Court’s Scheduling Order.
22           6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution
23    process under Local Rule 37.1 et seq.
24           6.3    The burden of persuasion in any such challenge proceeding shall be on the
25    Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass
26    or impose unnecessary expenses and burdens on other parties) may expose the Challenging
27    Party to sanctions. Unless the Designating Party has waived or withdrawn the confidentiality
28                                                      6
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 1    designation, all parties shall continue to afford the material in question the level of protection to
 2    which it is entitled under the Producing Party’s designation until the Court rules on the
 3    challenge.
 4    7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 5           7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed
 6    or produced by another Party or by a Non-Party in connection with this Action only for
 7    prosecuting, defending, or attempting to settle this Action. Such Protected Material may be
 8    disclosed only to the categories of persons and under the conditions described in this Order.
 9    When the Action has been terminated, a Receiving Party must comply with the provisions of
10    section 13 below (FINAL DISPOSITION). Protected Material must be stored and maintained
11    by a Receiving Party at a location and in a secure manner that ensures that access is limited to
12    the persons authorized under this Order.
13           7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by
14    the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
15    information or item designated “CONFIDENTIAL” only to:
16                  (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
17    employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
18    information for this Action;
19                  (b)    the officers, directors, and employees (including House Counsel) of the
20    Receiving Party to whom disclosure is reasonably necessary for this Action;
21                  (c)    Experts (as defined in this Order) of the Receiving Party to whom
22    disclosure is reasonably necessary for this Action and who have signed the “Acknowledgment
23    and Agreement to Be Bound” (Exhibit A);
24                  (d)    the court and its personnel;
25                  (e)    court reporters and their staff;
26
27
28                                                      7
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 1                  (f)    professional jury or trial consultants, mock jurors, and Professional
 2    Vendors to whom disclosure is reasonably necessary for this Action and who have signed the
 3    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4                  (g)    the author or recipient of a document containing the information or a
 5    custodian or other person who otherwise possessed or knew the information;
 6                  (h)    during their depositions, witnesses ,and attorneys for witnesses, in the
 7    Action to whom disclosure is reasonably necessary provided: (1) the deposing party requests
 8    that the witness sign the form attached as Exhibit 1 hereto; and (2) they will not be permitted to
 9    keep any confidential information unless they sign the “Acknowledgment and Agreement to Be
10    Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court.
11    Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected
12    Material may be separately bound by the court reporter and may not be disclosed to anyone
13    except as permitted under this Stipulated Protective Order; and
14                  (i)    any mediator or settlement officer, and their supporting personnel, mutually
15    agreed upon by any of the parties engaged in settlement discussions.
16    8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
17    LITIGATION
18           If a Party is served with a subpoena or a court order issued in other litigation that compels
19    disclosure of any information or items designated in this Action as “CONFIDENTIAL,” that
20    Party must:
21           (a)    promptly notify in writing the Designating Party. Such notification shall include a
22    copy of the subpoena or court order;
23           (b)    promptly notify in writing the party who caused the subpoena or order to issue in
24    the other litigation that some or all of the material covered by the subpoena or order is subject to
25    this Protective Order. Such notification shall include a copy of this Stipulated Protective Order;
26    and
27
28                                                     8
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 1           (c)     cooperate with respect to all reasonable procedures sought to be pursued by the
 2    Designating Party whose Protected Material may be affected.
 3           If the Designating Party timely seeks a protective order, the Party served with the
 4    subpoena or court order shall not produce any information designated in this action as
 5    “CONFIDENTIAL” before a determination by the court from which the subpoena or order
 6    issued, unless the Party has obtained the Designating Party’s permission. The Designating Party
 7    shall bear the burden and expense of seeking protection in that court of its confidential material
 8    and nothing in these provisions should be construed as authorizing or encouraging a Receiving
 9    Party in this Action to disobey a lawful directive from another court.
10    9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
11    LITIGATION
12                   (a)   The terms of this Order are applicable to information produced by a Non-
13    Party in this Action and designated as “CONFIDENTIAL.” Such information produced by Non-
14    Parties in connection with this litigation is protected by the remedies and relief provided by this
15    Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking
16    additional protections.
17                   (b)   In the event that a Party is required, by a valid discovery request, to
18    produce a Non-Party’s confidential information in its possession, and the Party is subject to an
19    agreement with the Non-Party not to produce the Non-Party’s confidential information, then the
20    Party shall:
21                         (1)    promptly notify in writing the Requesting Party and the Non-Party
22    that some or all of the information requested is subject to a confidentiality agreement with a
23    Non-Party;
24                         (2)    promptly provide the Non-Party with a copy of the Stipulated
25    Protective Order in this Action, the relevant discovery request(s), and a reasonably specific
26    description of the information requested; and
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28                                                     9
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 1                          (3)   make the information requested available for inspection by the Non-
 2   Party, if requested.
 3                 (c) If the Non-Party fails to seek a protective order from this court within 14 days
 4   of receiving the notice and accompanying information, the Receiving Party may produce the
 5   Non-Party’s confidential information responsive to the discovery request. If the Non-Party
 6   timely seeks a protective order, the Receiving Party shall not produce any information in its
 7   possession or control that is subject to the confidentiality agreement with the Non-Party before a
 8   determination by the court. Absent a court order to the contrary, the Non-Party shall bear the
 9   burden and expense of seeking protection in this court of its Protected Material.
10   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
11          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
12   Material to any person or in any circumstance not authorized under this Stipulated Protective
13   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the
14   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
15   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
16   made of all the terms of this Order, and (d) request such person or persons to execute the
17   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
18   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
19   MATERIAL
20          When a Producing Party gives notice to Receiving Parties that certain inadvertently
21   produced material is subject to a claim of privilege or other protection, the obligations of the
22   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
23   provision is not intended to modify whatever procedure may be established in an e-discovery
24   order that provides for production without prior privilege review. Pursuant to Federal Rule of
25   Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of
26   a communication or information covered by the attorney-client privilege or work product
27
28                                                    10
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 1   protection, the parties may incorporate their agreement in the stipulated protective order
 2   submitted to the court.
 3   12.      MISCELLANEOUS
 4            12.1 Right to Further Relief. Nothing in this Order abridges the right of any person to
 5   seek its modification by the Court in the future.
 6            12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective Order
 7   no Party waives any right it otherwise would have to object to disclosing or producing any
 8   information or item on any ground not addressed in this Stipulated Protective Order. Similarly,
 9   no Party waives any right to object on any ground to use in evidence of any of the material
10   covered by this Protective Order.
11            12.3 Filing Protected Material. A Party that seeks to file under seal any Protected
12   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed under
13   seal pursuant to a court order authorizing the sealing of the specific Protected Material at issue.
14   If a Party's request to file Protected Material under seal is denied by the court, then the
15   Receiving Party may file the information in the public record unless otherwise instructed by the
16   court.
17   13.      FINAL DISPOSITION
18            After the final disposition of this Action, as defined in paragraph 4, within 60 days of a
19   written request by the Designating Party, each Receiving Party must return all Protected
20   Material to the Producing Party or destroy such material. As used in this subdivision, “all
21   Protected Material” includes all copies, abstracts, compilations, summaries, and any other
22   format reproducing or capturing any of the Protected Material. Whether the Protected Material is
23   returned or destroyed, the Receiving Party must submit a written certification to the Producing
24   Party (and, if not the same person or entity, to the Designating Party) by the 60 day deadline that
25   (1) identifies (by category, where appropriate) all the Protected Material that was returned or
26   destroyed and (2)affirms that the Receiving Party has not retained any copies, abstracts,
27   compilations, summaries or any other format reproducing or capturing any of the Protected
28                                                     11
                                                                       [PROPOSED] Protective Order
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 1                                                  EXHIBIT A
 2                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I, _____________________________ [print or type full name], of
 4   _________________________________ [print or type full address], declare under penalty of
 5   perjury that I have read in its entirety and understand the Stipulated Protective Order that was
 6   issued by the United States District Court for the Central District of California on [date] in the
 7   case of Meng Koay Lim v. Richard Pola & Associates, Inc. USDC, Central District of CA,
 8   Western Division, 2:19-cv-07163-JWH-KS. I agree to comply with and to be bound by all the
 9   terms of this Stipulated Protective Order and I understand and acknowledge that failure to so
10   comply could expose me to sanctions and punishment in the nature of contempt. I solemnly
11   promise that I will not disclose in any manner any information or item that is subject to this
12   Stipulated Protective Order to any person or entity except in strict compliance with the
13   provisions of this Order.
14          I further agree to submit to the jurisdiction of the United States District Court for the
15   Central District of California for the purpose of enforcing the terms of this Stipulated Protective
16   Order, even if such enforcement proceedings occur after termination of this action. I hereby
17   appoint __________________________ [print or type full name] of
18   _______________________________________ [print or type full address and telephone
19   number] as my California agent for service of process in connection with this action or any
20   proceedings related to enforcement of this Stipulated Protective Order.
21          Date: ______________________________________
22          City and State where sworn and signed: _________________________________
23          Printed name: _______________________________
24          Signature: __________________________________
25
26
27
28                                                    13
                                                                      [PROPOSED] Protective Order
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